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 5

 6

 7                            UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9

10    UNITED STATES OF AMERICA,                      )   2:12-CR-00465-GMN-CWH
                                                     )
11                    Plaintiff,                     )
                                                     )   STIPULATION FOR PROTECTIVE ORDER
12                    vs.                            )
                                                     )
13    SUNDAY D. COPELAND,                            )
                                                     )
14                    Defendant.                     )
                                                     )
15

16             IT IS HEREBY STIPULATED AND AGREED between the parties, Daniel G. Bogden,
17    United States Attorney for the District of Nevada, and Kimberly M. Frayn, Assistant United States
18    Attorney, counsel for the United States, William C. Carrico, Esq., Assistant Federal Public
19    Defender, counsel for defendant SUNDAY D. COPELAND, that this Court issue an Order
20    protecting from disclosure to the public any discovery documents containing the personal
21    identifying and financial identifying information, such as social security numbers, drivers license
22    numbers, dates of birth, bank account numbers, credit and debit card numbers, and addresses, of
23    participants, witnesses and victims in this case. Such documents shall be referred to hereinafter as
24    “Protected Documents.” The parties state as follows:
25             1.    Protected Documents which will be used by the government in its case in chief
26    include personal identifying information and financial identifying information, such as social
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 1    security numbers, drivers license numbers, dates of birth, bank account numbers, credit and debit

 2    card numbers, and addresses, of participants, witnesses, and victims in this case.

 3             2.    Discovery in this case is voluminous and includes many of documents which

 4    contain personal and financial identifiers. Redacting the personal and financial identifiers of

 5    participants, witnesses, and victims would prevent the timely disclosure of discovery to

 6    defendants.

 7             3.    The United States agrees to provide Protected Documents without redacting the

 8    personal identifiers and financial identifiers of participants, witnesses, and victims.

 9             4.    Access to Protected Documents will be restricted to persons authorized by the

10    Court, namely defendant, attorney(s) of record and attorneys’ paralegals, investigators, experts,

11    and secretaries employed by the attorney(s) of record and performing on behalf of defendant.

12             5.    The following restrictions will be placed on defendant, defendant’s attorney(s) and

13    the above-designated individuals unless and until further ordered by the Court. Defendants,

14    defendants’ attorneys and the above-designated individuals shall not:

15                   a.      make copies for, or allow copies of any kind to be made, by any other

16    person of Protected Documents;

17                   b.      allow any other person to read Protected Documents; and

18                   c.      use Protected Documents for any other purpose other than preparing to

19    defend against the charges in the Indictment or any further superseding indictments arising out of

20    this case.

21             6.    Defendant’s attorney(s) shall inform any person to whom disclosure may be made

22    pursuant to this order of the existence and terms of this Court’s order.

23             7.    The requested restrictions shall not restrict the use or introduction as evidence of

24    discovery documents containing personal identifying and financial identifying information, such as

25    social security numbers, drivers license numbers, dates of birth, bank account numbers, credit and

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 1    debit card numbers, and addresses, of participants, witnesses and victims during the trial of this

 2    matter.

 3              8.    Upon conclusion of this action, defendant’s attorney(s) shall return to government

 4    counsel or destroy and certify to government counsel the destruction of all discovery documents

 5    containing personal identifying and financial identifying information such as social security

 6    numbers, drivers license numbers, dates of birth, bank account numbers, credit and debit card

 7    numbers, and addresses, within a reasonable time, not to exceed thirty days after the

 8    last appeal is final.

 9

10    DANIEL G. BOGDEN
      United States Attorney
11

12    /s/ Kimberly M. Frayn                         February 20, 2013
      KIMBERLY M. FRAYN                             DATE
13    Assistant United States Attorney
14

15    /s/ William C. Carrico, Esq.                  February 21, 2013
      WILLIAM C. CARRICO, ESQ.                      DATE
16    Assistant Federal Public Defender
      Counsel for defendant
17    SUNDAY D. COPELAND,
18

19
                                                    ORDER
20
                                         22
                IT IS SO ORDERED this ________              February
                                               day of __________________ 2013.
21

22
                                                           _________________________________
23                                                         UNITED STATES MAGISTRATE JUDGE
24

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